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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION



   JON STELTER, individually and on behalf
   of all others similarly situated,

                                Plaintiff,               Case No: 1:21-cv-02132-JMS-MG

                v.

  FIRST MERCHANTS BANK

                                Defendant.


          ORDER ON JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Upon consideration of the parties’ Joint Stipulation of Dismissal with Prejudice, filed on

October 11, 2021, this action is dismissed with prejudice as to Plaintiff's individual claims

and without prejudice as to any putative class claims, on the terms agreed to and set out by

the parties [19].The Motion to Compel dkt [11] is denied as moot.
       SO ORDERED.




     Date: 10/12/2021




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